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  Exhibit F
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                           DECLARATION OF PAULINA REYES

I, Paulina Reyes, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following is true and correct.

   1. I make this declaration based on my own personal knowledge and if called to testify I
      could and would do so competently and truthfully to these matters.

   2. My name is Paulina Reyes. I am a managing attorney at Immigrant Defenders Law Center
      (“ImmDef”), licensed to practice law in California. I represent detained and non-detained
      immigrants in removal proceedings.

   3. I represent Andry Jose Hernandez Romero in his removal proceedings. I submit this
      declaration because I am deeply concerned for my client. Andry was pursuing asylum
      when he was abruptly moved to Texas and removed under the Alien Enemies Act, without
      any notice that the government was alleging him to be an alien enemy, and without any
      notice that he would be removed.

   4. Andry is a Venezuelan national. He worked for a government sponsored news channel as
      a professional makeup artist and identifies as gay. He faced constant discrimination
      because of his sexual orientation. He and other station employees were forced to promote
      pro-Maduro content in their social media and to vote in favor of issues supported by that
      government. He refused and the producers at his government-sponsored station attacked
      him and threatened to further harm him if he did not comply. Around this same time, he
      began to be followed by “colectivos,” armed groups operating at the behest of the
      government, and was threatened by them to support the Maduro government.

   5. In response, Andry quit the television station and went into hiding, leaving Venezuela in
      May 2024.

   6. On August 29, 2024, Andry presented at the San Ysidro Port of Entry after making an
      appointment with the CBP One app. He was questioned about his tattoos, transferred to
      ICE custody, and sent to Otay Mesa Detention Center (“OMDC”).

   7. Andry was put into expedited removal proceedings and received a positive credible fear
      determination. He was then placed in removal proceedings.

   8. At OMDC, he was flagged as a security risk for the sole reason of his tattoos and an
      allegation that they showed he was associated with Tren de Aragua. During questioning,
      Andry maintained that he was not part of Tren de Aragua nor affiliated with them in any
      way.

   9. I was retained as pro bono counsel on or about December 6, 2024. While in detention, I
      maintained constant communication with him, including in-person visits and phone calls.
      I filed an asylum application on his behalf and evidence to corroborate his asylum claim.
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10. Andry was abruptly moved on March 6 or 7 from OMDC to Webb County Detention
    Center (“WCDC”) in Laredo, Texas, despite still having ongoing immigration
    proceedings in California. Although I am his attorney, the Office of Enforcement and
    Removal Operations (“ERO”) did not notify me of the transfer. I found out because my
    client called me from WCDC.

11. He had a hearing on March 13 at Otay Mesa Immigration Court. ERO in WCDC did not
    make him available to video conference into that hearing. The hearing was rescheduled to
    March 17.

12. I have never been able to schedule a call with Andry since he arrived at WCDC. I have
    only been able to speak to him when he is able to place an outgoing call. He spoke to me
    on March 7 and reported that about 20 other Venezuelans had also recently been
    transferred to WCDC, including at least one other person in ongoing proceedings at the
    Otay Mesa Immigration Court and one individual granted withholding of removal.

13. On the evening of March 13 and again on the morning of March 14, I asked WCDC and
    ERO for an opportunity to schedule a call with my client.

14. On March 14, I received an email response from ERO that Andry was no longer in
    WCDC but was not provided information about his location. I called the facility and was
    again told that he was no longer in WCDC; the person I spoke to did not provide me any
    further information about where he had been taken and for what reason.

15. That evening, I emailed the duty attorney for the Office of Principal Legal Advisory
    (“OPLA”) in Otay Mesa to inquire about his custody and confirm whether he would
    appear at the upcoming hearing on March 17. I did not receive a response.

16. On March 17, Andry was not present at the Master Calendar Hearing. When asked for his
    location, the OPLA attorney responded that he is “no longer in ICE custody.” The OPLA
    attorney later confirmed that he had been removed to El Salvador.

17. This was the first time that his forced removal was mentioned by any government
    official. The OPLA attorney did not provide any further information as to the reason he
    was removed, and did not respond to the Immigration Judge’s question about how he was
    removed if there was no removal order.

18. The hearing was continued to April 2, 2025.

19. On March 19, I emailed the duty attorney at OPLA to ask whether Andry was removed
    subject to the Alien Enemies Act to ask whether there is a process to contact my client
    while his removal proceedings are ongoing, and whether he would be made available for
    his next hearing on April 2.

20. ICE Deputy Chief Counsel told me in response to my e-mail: “I can confirm that [Andry]
    was removed on March 15,” that “[t]here is no process through DHS to facilitate
    communication with a removed individual,” nor to “facilitate appearance” at the next
    hearing date, and that “I do not have further information related to your client’s removal.”
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       I have seen Andry’s name on publicly reported lists of people removed to El Salvador
       under the Alien Enemies Act and know of no other basis that would explain his removal.

   21. Andry has no involvement whatsoever with Tren de Aragua.

   22. Andry has a few tattoos, including “Mom” next to a crown on one wrist, and “Dad” next
       to a crown on the other wrist. From a young age, he has been involved with the
       nationally and culturally famous "Three Kings" (or, "Three Wise Men") festival and
       performance in his hometown. Additionally, he is a makeup artist for beauty pageants; on
       his social media he appears promoting those beauty pageants alongside a crown, a
       common prop that contestants in a pageant would wear.

   23. I have attached a true and complete copy of OPLA’s evidence against my client (Exhibit
       A) and photos from his social media (Exhibit B).

   24. These crown tattoos are the only basis of the government’s assertion, in its filing, that he
       is connected to Tren de Aragua. An officer says “[t]he crown has been found to be an
       identifier for a Tren de Aragua gang member” without offering further explanation. On a
       points-based rubric in the filing used by detention officers to evaluate if someone is a
       gang member, only the tattoo is mentioned. There are other categories for contact with
       other gang members, “intelligence information” from other agencies, being identified as
       a gang member in other documents or by another agency --- none of those categories are
       indicated for Andry.

   25. Andry did not have the opportunity to contest the evidence submitted against him before
       he was forcibly removed. There is no evidence to believe that he is affiliated in any way
       with Tren de Aragua and Andry has consistently refuted those claims. He fled Venezuela
       due to persecution for his political opinion and his sexual orientation and his tattoos have
       an obvious explanation that has nothing to do with a gang.

   26. Everything in this declaration is true and correct to the best of my knowledge and
       recollection.
Executed on the 27th day of March at San Diego, California.



/s/ Paulina Reyes
Paulina Reyes, Esq.
Counsel for Andry Jose Hernandez Romero
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                EXHIBIT A
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                                                                                                                                                   9-12A

                                                                      STG QUESTIONNAIRE

                 Facility:                     Otay Mesa Detention Center

                 Inmate/Resident Name: HERNANDEZ ROMERO, ANDRY JOSE                                     ID Number:

                 Date of Birth:

                 Nickname / AKA / Moniker (s): UNKNOWN


                 I.   INMATE/RESIDENT ADVISEMENT

                      Inmate/Resident        HERNANDEZ ROMERO, ANDRY JOSE                     was advised on    09/02/2024         , that failure to
                      respond to the questions in a truthful manner could result in disciplinary action being taken. In addition, information
                      obtained can be released to the contracting agency and/or law enforcement.


                 II. RACE (Note: Check applicable race(s) as expressed by the inmate/resident):

                                           Black or African                     Hispanic or        American Indian or            Asian or Pacific
                         White
                                           American                             Latino             Alaska Native                 Islander

                 III. QUESTIONS
                      1. Where is your Hometown?         VENEZUELA
                      2. Are you related to or do you know any employees of this facility? Unknown
                      3. Do you have any tattoos?       Yes
                           If yes,           T-LEFT ARM=ROSES, SNAKE T-LEFT WRIST=CROWN DAD T-RIGHT WRIST=MOM T-LEFT
                           If yes, When:     LEG=ROSE, BUTTERFLY T-LEFT BUTTOCK=FLOWER
                                             30 YEARS OLD
                           If yes, Where:
                                             STREETS
                      4. Have you ever been involved in a gang, disruptive group?      No                                                  (*see note below)
                      5. Have you ever been associated with a terrorist organization or involved in terrorist activities?       No         (*see note below)


                        ** IF THE ANSWER TO #4 OR #5 IS "YES," COMPLETE QUESTIONS 6-23 BELOW. **IF THE ANSWER TO #5 IS "YES,"
                           COMPLETE A 9-12C IN ADDITION TO 9-12A.
                        * IF THE ANSWER TO #4 AND/OR #5 IS "NO", PROCEED TO SECTION IV; UNLESS THERE ARE SPECIFIC
                          CHARACTERISTICS ABOUT THE SUSPECT WHICH ARE BELIEVED TO BE TRUE, BASED UPON CREDIBLE
                          EVIDENCE TO SUPPORT ASSIGNMENT AND APPROVAL; THEN PROCEED WITH COMPLETING QUESTIONS 6-23 BELOW

                      6. What is the name of the group?  TREN DE ARAGUA
                      7. Are you a member or an associate?    Associate
                      8. At what age did you become a member?    DETAINEE HERNANDEZ STATED THAT HE IS NOT A MEMBER OF
                                                                 ANY GANG
                      9. Did you become a member or associate before or after incarceration? Before
                             How long involved? DETAINEE HERNANDEZ STATED THAT HE IS NOT A MEMBER OF ANY GANG
                      10. Describe how you became a member?
                           DETAINEE HERNANDEZ STATED THAT HE IS NOT A MEMBER OF ANY GANG.
                      11. Do you hold a position of rank in the group? No
                      12. Are there other members of the group at this facility? Unknown
                      13. Who are enemies of the group?
EOIR — 4 of 33




                           NONE
                      14. Do you associate with any other groups?            No


           Page 1 of 2                                                                                                                     AUGUST 1, 2009
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                                                                                                                                                9-12A

                                                                      STG QUESTIONNAIRE

                    15. Does the group have contact with other groups outside of the facility?     No
                    16. Does the group receive financial support from outside the facility?        No
                    17. Have you ever been ordered to assault or "hit" anyone?            No
                    18. How do members of the group communicate?
                        UNKNOWN
                    19. Who is/are the leaders(s) of the group at the facility?
                        UNKNOWN
                    20. Who is/are the leader(s) of the group in your housing unit?
                        UNKNOWN
                    21. How does the leadership structure of the group function?
                        UNKNOWN
                    22. Do you want out of the group?                                     No
                    23. Do you fear for your safety as a result of your membership/affiliation with the group?     No


                 Interviewer Printed Name:                                  Arturo Torres                        Date:          12/03/2024
                                                                           STG OFFICER

                               Confirmed by:                               Charles Cross Jr                      Date:          12/10/2024
                                                                          INVESTIGATOR


                 NOTE This form can be completed and filed electronically via the CoreCivic/STG designated intranet site; therefore, this
                 copy form is required only where a hard copy file is being maintained.



                                                             To Be Completed By Interviewer

                 IV. INTERVIEWER

                     Inmate/resident's demeanor during interview:               Uncooperative

                     Interviewer's Comments:
                       ON INITIAL INTERVIEW DETAINEE HERNANDEZ STATED THAT HE WAS NOT A MEMBER OF ANY GANG.
                       UPON CONDUCTING A REVIEW OF DETAINEE HERNANDEZ'S TATTOOS IT WAS FOUND THAT DETAINEE
                       HERNANDEZ HAS A CROWN ON EACH ONE OF HIS WRIST. THE CROWN HAS BEEN FOUND TO BE AN
                       IDENTIFIER FOR A TREN DE ARAGUA GANG MEMBER.

                     List and describe location of scars, brands, tattoos or other identifying marks of body:
                     S=Scars B=Brands T=Tattoos O=Other(explain)
                       T-LEFT ARM=ROSES, SNAKE T-LEFT WRIST=CROWN DAD T-RIGHT WRIST=MOM T-LEFT LEG=ROSE,
                       BUTTERFLY T-LEFT BUTTOCK=FLOWER

                     Determining factors to conclude reasonable suspicion:
                      DETAINEE HERNANDEZ PORTS TATTOOS "CROWNS" THAT ARE CONSISTENT WITH THOSE OF A TREN DE
                      ARAGUA MEMBER.
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           Page 2 of 2                                                                                                                  AUGUST 1, 2009
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                                                                                                                                           9-12B
                                            STG MEMBER VALIDATION / CONFIRMATION

                 Inmate/Resident Name: HERNANDEZ ROMERO, ANDRY JOSE                         Number:

                 Facility: Otay Mesa Detention Center                      Jurisdiction: IMMIGRATION AND CUSTOMS ENFORCEMENT

           Score each applicable criteria item and total the points for validation level. All items scored shall have supporting
           documentation placed in the intelligence file.


           CATEGORY / SCORE                                                                                                 POINTS

           Admission - Inmate/resident admits to association/membership with STG or gang.                             (5)      0

           Possession of STG Paraphernalia/Contraband: - Includes, but not limited to:
           drawings, letters, graffiti, bylaws, rosters, publications, documents, photos, audio
           tapes, clothes, symbols, logos, and any other personal property.                                           (5)      0

           STG Tattoos/Brands/Identifying Marks                                                                       (5)      5

           Observed and known contact with STG/Gang members/suspects                                                  (4)      0

           Intelligence information received from other agencies                                                      (5)      0

           Correspondence/communication with known STG/Gang members/suspects                                          (4)      0

           Group photos with known STG/Gang members/suspects                                                          (4)      0

           Identified as an STG member/suspect in any document - Includes official records,
           media reports, and correspondence                                                                          (5)      0

           Validation/confirmation of STG membership by law enforcement, Corrections, or
           sending jurisdiction                                                                                      (10       0

                                                                                                    TOTAL SCORE                5


                 STG/Gang membership status. (9 or lower is SUSPECT) (10 or higher is MEMBER
                                                                                                                        SUSPECT
                 CONFIRMED):

                 STG/Gang Affiliation:
                    TREN DE ARAGUA

                 Leadership (position or rank):
                    UNKNOWN

                 Comments:
                    ON INITIAL INTERVIEW DETAINEE HERNANDEZ STATED THAT HE WAS NOT A MEMBER OF ANY GANG. UPON
                    CONDUCTING A REVIEW OF DETAINEE HERNANDEZ'S TATTOOS IT WAS FOUND THAT DETAINEE
                    HERNANDEZ HAS A CROWN ON EACH ONE OF HIS WRIST. THE CROWN HAS BEEN FOUND TO BE AN
                    IDENTIFIER FOR A TREN DE ARAGUA GANG MEMBER.


                      Completed by:                             Arturo Torres                       Date:        12/03/2024
                                                               STG OFFICER

                      Confirmed by:                           Charles Cross Jr                      Date:        12/10/2024
                                                              INVESTIGATOR
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                                                              STG CHRONOLOGICAL SUMMARY

                            Inmate/Resident HERNANDEZ ROMERO, ANDRY JOSE

                       CoreCivic Inmate #:                                                      Agency Inmate #:

                             STG Affiliation: OTHER - HISPANIC



                 Association - 09/06/2024 10:54                   Comment      09/06/2024 10:54
                   ON INITIAL INTERVIEW DETAINEE HERNANDEZ STATED THAT HE WAS NOT A MEMBER OF ANY GANG. UPON
                   CONDUCTING A REVIEW OF DETAINEE HERNANDEZ'S TATTOOS IT WAS FOUND THAT DETAINEE HERNANDEZ
                   HAS A CROWN ON EACH ONE OF HIS WRIST. THE CROWN HAS BEEN FOUND TO BE AN IDENTIFIER FOR A
                   TREN DE ARAGUA GANG MEMBER.
                                                              Comment           Arturo Torres             Title STG OFFICER
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           Uploaded on: 03/06/2025
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                                                                              File Name: HERNANDEZ ROMERO ANDRY JOSE 221128894 (2).JPG
            Uploaded on: 03/06/2025
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                          Case 3:25-cv-00113-SLH           Standard Time)
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            Uploaded on: 03/06/2025
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                          Case 3:25-cv-00113-SLH           Standard Time)
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            Uploaded on: 03/06/2025
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                          Case 3:25-cv-00113-SLH           Standard Time)
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                                                               STG CHRONOLOGICAL SUMMARY

                             Inmate/Resident HERNANDEZ ROMERO, ANDRY JOSE

                        CoreCivic Inmate #:                                                      Agency Inmate #:

                              STG Affiliation: OTHER - HISPANIC



                  Association - 09/06/2024 10:54                   Comment      09/06/2024 10:54
                    ON INITIAL INTERVIEW DETAINEE HERNANDEZ STATED THAT HE WAS NOT A MEMBER OF ANY GANG. UPON
                    CONDUCTING A REVIEW OF DETAINEE HERNANDEZ'S TATTOOS IT WAS FOUND THAT DETAINEE HERNANDEZ
                    HAS A CROWN ON EACH ONE OF HIS WRIST. THE CROWN HAS BEEN FOUND TO BE AN IDENTIFIER FOR A
                    TREN DE ARAGUA GANG MEMBER.
                                                               Comment           Arturo Torres             Title STG OFFICER
EOIR — 14 of 33




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                                                                                                                                                     9-12A

                                                                       STG QUESTIONNAIRE

                  Facility:                     Otay Mesa Detention Center

                  Inmate/Resident Name: HERNANDEZ ROMERO, ANDRY JOSE                                     ID Number:

                  Date of Birth:

                  Nickname / AKA / Moniker (s): UNKNOWN


                  I.   INMATE/RESIDENT ADVISEMENT

                       Inmate/Resident        HERNANDEZ ROMERO, ANDRY JOSE                     was advised on    09/02/2024         , that failure to
                       respond to the questions in a truthful manner could result in disciplinary action being taken. In addition, information
                       obtained can be released to the contracting agency and/or law enforcement.


                  II. RACE (Note: Check applicable race(s) as expressed by the inmate/resident):

                                            Black or African                     Hispanic or        American Indian or            Asian or Pacific
                          White
                                            American                             Latino             Alaska Native                 Islander

                  III. QUESTIONS
                       1. Where is your Hometown?         VENEZUELA
                       2. Are you related to or do you know any employees of this facility? Unknown
                       3. Do you have any tattoos?       Yes
                            If yes,           T-LEFT ARM=ROSES, SNAKE T-LEFT WRIST=CROWN DAD T-RIGHT WRIST=MOM T-LEFT
                            If yes, When:     LEG=ROSE, BUTTERFLY T-LEFT BUTTOCK=FLOWER
                                              30 YEARS OLD
                            If yes, Where:
                                              STREETS
                       4. Have you ever been involved in a gang, disruptive group?      No                                                  (*see note below)
                       5. Have you ever been associated with a terrorist organization or involved in terrorist activities?       No         (*see note below)


                         ** IF THE ANSWER TO #4 OR #5 IS "YES," COMPLETE QUESTIONS 6-23 BELOW. **IF THE ANSWER TO #5 IS "YES,"
                            COMPLETE A 9-12C IN ADDITION TO 9-12A.
                         * IF THE ANSWER TO #4 AND/OR #5 IS "NO", PROCEED TO SECTION IV; UNLESS THERE ARE SPECIFIC
                           CHARACTERISTICS ABOUT THE SUSPECT WHICH ARE BELIEVED TO BE TRUE, BASED UPON CREDIBLE
                           EVIDENCE TO SUPPORT ASSIGNMENT AND APPROVAL; THEN PROCEED WITH COMPLETING QUESTIONS 6-23 BELOW

                       6. What is the name of the group?  TREN DE ARAGUA
                       7. Are you a member or an associate?    Associate
                       8. At what age did you become a member?    DETAINEE HERNANDEZ STATED THAT HE IS NOT A MEMBER OF
                                                                  ANY GANG
                       9. Did you become a member or associate before or after incarceration? Before
                              How long involved? DETAINEE HERNANDEZ STATED THAT HE IS NOT A MEMBER OF ANY GANG
                       10. Describe how you became a member?
                            DETAINEE HERNANDEZ STATED THAT HE IS NOT A MEMBER OF ANY GANG.
                       11. Do you hold a position of rank in the group? No
                       12. Are there other members of the group at this facility? Unknown
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                       13. Who are enemies of the group?
                            NONE
                       14. Do you associate with any other groups?            No


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                                                                       STG QUESTIONNAIRE

                     15. Does the group have contact with other groups outside of the facility?     No
                     16. Does the group receive financial support from outside the facility?        No
                     17. Have you ever been ordered to assault or "hit" anyone?            No
                     18. How do members of the group communicate?
                         UNKNOWN
                     19. Who is/are the leaders(s) of the group at the facility?
                         UNKNOWN
                     20. Who is/are the leader(s) of the group in your housing unit?
                         UNKNOWN
                     21. How does the leadership structure of the group function?
                         UNKNOWN
                     22. Do you want out of the group?                                     No
                     23. Do you fear for your safety as a result of your membership/affiliation with the group?     No


                  Interviewer Printed Name:                                  Arturo Torres                        Date:          12/03/2024
                                                                            STG OFFICER

                                Confirmed by:                               Charles Cross Jr                      Date:          12/10/2024
                                                                           INVESTIGATOR


                  NOTE This form can be completed and filed electronically via the CoreCivic/STG designated intranet site; therefore, this
                  copy form is required only where a hard copy file is being maintained.



                                                              To Be Completed By Interviewer

                  IV. INTERVIEWER

                      Inmate/resident's demeanor during interview:               Uncooperative

                      Interviewer's Comments:
                        ON INITIAL INTERVIEW DETAINEE HERNANDEZ STATED THAT HE WAS NOT A MEMBER OF ANY GANG.
                        UPON CONDUCTING A REVIEW OF DETAINEE HERNANDEZ'S TATTOOS IT WAS FOUND THAT DETAINEE
                        HERNANDEZ HAS A CROWN ON EACH ONE OF HIS WRIST. THE CROWN HAS BEEN FOUND TO BE AN
                        IDENTIFIER FOR A TREN DE ARAGUA GANG MEMBER.

                      List and describe location of scars, brands, tattoos or other identifying marks of body:
                      S=Scars B=Brands T=Tattoos O=Other(explain)
                        T-LEFT ARM=ROSES, SNAKE T-LEFT WRIST=CROWN DAD T-RIGHT WRIST=MOM T-LEFT LEG=ROSE,
                        BUTTERFLY T-LEFT BUTTOCK=FLOWER

                      Determining factors to conclude reasonable suspicion:
                       DETAINEE HERNANDEZ PORTS TATTOOS "CROWNS" THAT ARE CONSISTENT WITH THOSE OF A TREN DE
                       ARAGUA MEMBER.
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                                                                                                                                            9-12B
                                             STG MEMBER VALIDATION / CONFIRMATION

                  Inmate/Resident Name: HERNANDEZ ROMERO, ANDRY JOSE                         Number: 6336080

                  Facility: Otay Mesa Detention Center                      Jurisdiction: IMMIGRATION AND CUSTOMS ENFORCEMENT

            Score each applicable criteria item and total the points for validation level. All items scored shall have supporting
            documentation placed in the intelligence file.


            CATEGORY / SCORE                                                                                                 POINTS

            Admission - Inmate/resident admits to association/membership with STG or gang.                             (5)      0

            Possession of STG Paraphernalia/Contraband: - Includes, but not limited to:
            drawings, letters, graffiti, bylaws, rosters, publications, documents, photos, audio
            tapes, clothes, symbols, logos, and any other personal property.                                           (5)      0

            STG Tattoos/Brands/Identifying Marks                                                                       (5)      5

            Observed and known contact with STG/Gang members/suspects                                                  (4)      0

            Intelligence information received from other agencies                                                      (5)      0

            Correspondence/communication with known STG/Gang members/suspects                                          (4)      0

            Group photos with known STG/Gang members/suspects                                                          (4)      0

            Identified as an STG member/suspect in any document - Includes official records,
            media reports, and correspondence                                                                          (5)      0

            Validation/confirmation of STG membership by law enforcement, Corrections, or
            sending jurisdiction                                                                                      (10       0

                                                                                                     TOTAL SCORE                5


                  STG/Gang membership status. (9 or lower is SUSPECT) (10 or higher is MEMBER
                                                                                                                         SUSPECT
                  CONFIRMED):

                  STG/Gang Affiliation:
                     TREN DE ARAGUA

                  Leadership (position or rank):
                     UNKNOWN

                  Comments:
                     ON INITIAL INTERVIEW DETAINEE HERNANDEZ STATED THAT HE WAS NOT A MEMBER OF ANY GANG. UPON
                     CONDUCTING A REVIEW OF DETAINEE HERNANDEZ'S TATTOOS IT WAS FOUND THAT DETAINEE
                     HERNANDEZ HAS A CROWN ON EACH ONE OF HIS WRIST. THE CROWN HAS BEEN FOUND TO BE AN
                     IDENTIFIER FOR A TREN DE ARAGUA GANG MEMBER.


                       Completed by:                             Arturo Torres                       Date:        12/03/2024
                                                                STG OFFICER

                       Confirmed by:                           Charles Cross Jr                      Date:        12/10/2024
                                                               INVESTIGATOR
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            NOTE: This form can be completed and filed electronically via the CoreCivic/STG designated intranet site; therefore, this
            copy form is required only where a hard copy file is being maintained.




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Workflow History
 Owner                                Start Date/Time               Workflow Step   Comments


Cross Jr, Charles W                      12/03/2024                    Confirm

Torres, Arturo M                         09/06/2024                    Administer         TREN DE ARAGUA SUSPECT
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                                                     CERTIFICATE OF SERVICE

                      On 3/6/2025, I, Matthew Warren, Assistant Chief Counsel, served a copy of this DHS
                      SUBMISSION OF EVIDENCE and any attached pages through the EOIR Courts and Appeals
                      System (ECAS), which will automatically send service notifications to both parties that a new
                      document has been filed. If unrepresented, the document will also be served on the respondent
                      at the Otay Mesa Detention Center, 7488 Calzada de la Fuente, San Diego, CA 92113.




                      _______________________________
                      Matthew Warren
                      Assistant Chief Counsel
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                 EXHIBIT B
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Screenshot of Andry Jose Hernandez
Romero’s Instagram page
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